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                           UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF TEXAS
                                SAN ANTONIO DIVISION
                                             §
 UNITED STATES OF AMERICA                    §
                                             §
 V.                                          §         CAUSE NO. SA-22-CR-0170
                                             §
 XIAOJIAN TAO                                §

                        NOTICE OF ATTORNEY APPEARANCE

TO THE HONORABLE JUDGE OF SAID COURT:

       NOW COMES Molly L. Roth, Assistant Federal Public Defender and enters her
appearance as counsel for the defendant in the above-styled and numbered cause.

                                          Respectfully submitted.

                                          MAUREEN SCOTT FRANCO
                                          Federal Public Defender

                                          __________________________________
                                          /s/ MOLLY LIZBETH ROTH
                                          Assistant Federal Public Defender
                                          Western District of Texas
                                          727 East César E. Chávez Blvd., B–207
                                          San Antonio, Texas 78206–1205
                                          (210) 472-6700
                                          (210) 472-4454 (Fax)
                                          State Bar Number: 24040140

                                          Attorney for Defendant

                              CERTIFICATE OF SERVICE

      I hereby certify that on the 14TH day of April 2022, I filed the foregoing Notice of
Appearance using the CM/ECF system which will give electronic notification to the following:

Mark Roomberg & William Harris
Assistant United States Attorney
601 NW Loop 410, Suite 600
San Antonio, Texas 78216
                                          /s/ MOLLY LIZBETH ROTH
                                          Attorney for Defendant
